     Case: 24-50721   Document: 107    Page: 1   Date Filed: 07/10/2025




                       Nos. 24-50721 & 25-50096

         In the United States Court of Appeals
                 for the Fifth Circuit
  COMPUTER & COMMUNICATIONS INDUSTRY ASSOCIATION, et al.,
                                         Plaintiffs-Appellees,
                         v.

                KEN PAXTON, Attorney General of Texas
                                                    Defendant-Appellant.
                        consolidated with

         STUDENTS ENGAGED IN ADVANCING TEXAS, et al.,
                                           Plaintiffs-Appellees,
                            v.

                KEN PAXTON, Attorney General of Texas
                                                    Defendant-Appellant.
     ON APPEALS FROM THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
             CASE NOS. 1:24-CV-849 & 1:24-CV-945
  BRIEF OF AMICI CURIAE AMERICAN CIVIL LIBERTIES UNION,
ACLU OF TEXAS, CATO INSTITUTE, STUDENT PRESS LAW CENTER,
    TECHFREEDOM, WIKIMEDIA, AND WOODHULL FREEDOM
   FOUNDATION IN SUPPORT OF PLAINTIFFS-APPELLEES AND
                       AFFIRMANCE

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       Case: 24-50721      Document: 107       Page: 2   Date Filed: 07/10/2025




       CERTIFICATION OF INTERESTED PARTIES AND CORPORATE
                     DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amici

curiae American Civil Liberties Union, ACLU of Texas, Cato Institute, Student Press

Law Center, TechFreedom, Wikimedia, and Woodhull Freedom Foundation state

that they do not have a parent corporation and that no publicly held corporation owns

10 percent or more of their stock.

      Pursuant to Rule 29.2, the undersigned counsel of record certifies that the

following listed persons and entities have an interest in the outcome of this case.

These representations are made in order that the judges of this Court may evaluate

possible disqualification or recusal.

       Person or Entity                                  Connection to Case

       American Civil Liberties Union                    Amicus curiae

       ACLU of Texas                                     Amicus curiae

       Cato Institute                                    Amicus curiae

       Student Press Law Center                          Amicus curiae

       TechFreedom                                       Amicus curiae

       Wikimedia                                         Amicus curiae

       Woodhull Freedom Foundation                       Amicus curiae

       Thomas Buser-Clancy                               Counsel to amici




                                           i
Case: 24-50721      Document: 107        Page: 3   Date Filed: 07/10/2025




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Dated: July 10, 2025                         By: /s/ Vera Eidelman
                                                 Vera Eidelman




                                    ii
          Case: 24-50721             Document: 107              Page: 4      Date Filed: 07/10/2025




                                         TABLE OF CONTENTS
TABLE OF AUTHORITIES .................................................................................... iv

STATEMENT OF INTEREST...................................................................................1
INTRODUCTION .....................................................................................................5

ARGUMENT .............................................................................................................7

         I. Core First Amendment Activity Takes Place Online..................................7

         II. Content-Based Burdens Trigger Strict Scrutiny, Even If They Aim
             to Protect Minors ........................................................................................9

         III. Requiring Social Media Platforms to Filter Out Content That
              Could Lead to Harmful Behaviors Violates the First Amendment. ........12

                  A. Speech Cannot Be Suppressed Simply Because the
                     Government Deems It Unsuitable for Minors. ..............................13

                  B. Because of the Overly Broad Nature of Section 509.053, It
                     Is Not Narrowly Tailored. ..............................................................16

                  C. Vague Laws Fail Strict Scrutiny.....................................................19

                  D. Narrow Tailoring Requires No Less Restrictive Alternatives........20
CONCLUSION ........................................................................................................24

CERTIFICATE OF COMPLIANCE .......................................................................25

CERTIFICATE OF SERVICE .................................................................................26




                                                          iii
          Case: 24-50721             Document: 107            Page: 5       Date Filed: 07/10/2025




                                     TABLE OF AUTHORITIES
Cases

American Amusement Machine Association v. Kendrick,
  244 F.3d 572 (7th Cir. 2001) .................................................................. 13, 14, 15

Ashcroft v. Free Speech Coalition,
   535 U.S. 234 (2002) ............................................................................... 15, 16, 18

Bantam Books, Inc. v. Sullivan,
  372 U.S. 58 (1963) ..............................................................................................21
Brown v. Entertainment Merchants Association,
   564 U.S. 786 (2011) .................................................................................... passim

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  747 F. Supp. 3d 1011 (W.D. Tex. 2024) .................................................. 9, 13, 22

Connick v. Myers,
  461 U.S. 138 (1983) ............................................................................................14

Dennis v. United States,
  341 U.S. 494 (1951) ............................................................................................18
Erznoznik v. City of Jacksonville,
   422 U.S. 205 (1975) ........................................................................... 7, 10, 15, 19

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   390 U.S. 676 (1968) ............................................................................................20

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   343 U.S. 495 (1952) ............................................................................................19

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  594 U.S. 180 (2021) ..................................................................................1, 11, 12



                                                         iv
          Case: 24-50721             Document: 107            Page: 6        Date Filed: 07/10/2025




Moody v. NetChoice, LLC,
  603 U.S. 707 (2024) ............................................................................................22

NetChoice, LLC v. Bonta,
   113 F.4th 1101 (9th Cir. 2024) ..................................................................... 17, 23

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   No. 5:23-cv-5105, 2025 WL 978607 (W.D. Ark. Mar. 31, 2025) ......................23

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   748 F. Supp. 3d 1105 (D. Utah 2024) .................................................................16

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  458 U.S. 747 (1982) ............................................................................................18
Packingham v. North Carolina,
  582 U.S. 98 (2017) ....................................................................................... 1, 7, 9
Pittsburgh Press Co. v. Pittsburgh Commission on Human Relations,
   413 U.S. 376 (1973) ............................................................................................21

Reed v. Town of Gilbert,
   576 U.S. 155 (2015) ........................................................................................9, 12
Reno v. ACLU,
  521 U.S. 844 (1997) .................................................................................... passim

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  397 U.S. 728 (1970) ............................................................................................10

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   562 U.S. 443 (2011) ............................................................................................14
Terminiello v. City of Chicago,
   337 U.S. 1 (1949) ................................................................................................14
Tinker v. Des Moines Independent Community School District,
   393 U.S. 503 (1969) ..............................................................................................1




                                                          v
           Case: 24-50721              Document: 107              Page: 7        Date Filed: 07/10/2025




United States v. Playboy Entertainment Group, Inc.,
  529 U.S. 803 (2000) ................................................................................. 9, 22, 23

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  553 U.S. 285 (2008) ............................................................................................18

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  319 U.S. 624 (1943) ............................................................................................11

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   733 F. Supp. 3d 1167 (M.D. Ala. 2024)..............................................................18

Statutes
Texas House Bill 18 § 509.002 ................................................................................16

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  24, 2023) ...............................................................................................................8
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                                                             vi
          Case: 24-50721             Document: 107              Page: 8       Date Filed: 07/10/2025




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                                                          vii
        Case: 24-50721     Document: 107       Page: 9   Date Filed: 07/10/2025




                           STATEMENT OF INTEREST1

      The American Civil Liberties Union (“ACLU”) is a nationwide, nonpartisan,

nonprofit organization. The ACLU of Texas is a state affiliate of the ACLU. Both

organizations are dedicated to the principles of liberty and equality embodied in the

Constitution and our nation’s civil rights laws, including freedom of speech. The

ACLU and ACLU of Texas have frequently appeared before courts to advocate for

First Amendment rights online, see, e.g., Reno v. ACLU, 521 U.S. 844 (1997)

(counsel); Packingham v. North Carolina, 582 U.S. 98 (2017) (amicus), Free Speech

Coal. v. Paxton, 606 U.S. __, No. 23-1122, 2025 WL 1773625 (June 27, 2025)

(counsel), and the free speech rights of young people, see, e.g., Mahanoy Area Sch.

Dist. v. B. L. by & through Levy, 594 U.S. 180 (2021) (counsel); Tinker v. Des Moines

Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969) (counsel). As organizations committed

to protecting the rights to freedom of speech and freedom from government

censorship, the ACLU and ACLU of Texas have a strong interest in the proper

resolution of this case.

      The Cato Institute is a nonpartisan public policy research foundation founded

in 1977 and dedicated to advancing the principles of individual liberty, free markets,


1
 Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), amici certify that no
person or entity, other than amici, their members, or their counsel, made a monetary
contribution to the preparation or submission of this brief or authored this brief in
whole or in part. The parties have consented to the filing of this brief.


                                           1
       Case: 24-50721        Document: 107       Page: 10   Date Filed: 07/10/2025




and limited government. Cato’s Robert A. Levy Center for Constitutional Studies

helps restore the principles of constitutional government that are the foundation of

liberty. Toward those ends, Cato publishes books and studies, conducts conferences,

files amicus briefs, and produces the annual Cato Supreme Court Review. This case

interests Cato because it concerns the application of core First Amendment

principles to online communication, a critically important issue in the digital age.

      The Student Press Law Center (“SPLC”) is a national, nonprofit, nonpartisan

organization established in 1974 that works to promote, support, and defend the

press freedom and freedom of information rights of high school and college

journalists. As the only national organization devoted exclusively to defending the

legal rights of the school-sponsored and independent student press, SPLC collects

information on student press cases nationwide and produces many resources on

student press law, including its book, Law of the Student Press (4th ed.). In finding

that the act of newsgathering itself would potentially expose minors to harmful or

potentially harmful content, SPLC is concerned that Texas House Bill 18 (“HB 18”)

would significantly hinder both those students seeking news as well as the student

journalists who report it.

      TechFreedom is a nonprofit, nonpartisan think tank based in Washington, D.C.

It is dedicated to promoting technological progress that improves the human

condition. TechFreedom opposes government efforts to control online speech,


                                             2
       Case: 24-50721     Document: 107       Page: 11   Date Filed: 07/10/2025




including laws that explicitly or implicitly mandate age-gating online content at the

source. As TechFreedom’s experts have explained in extensive expert commentary,

online age-verification laws sacrifice privacy, free speech, and parental authority on

the altar of good intentions. See, e.g., Corbin K. Barthold, Age-Verification Laws Are

a Verified Mistake, L. & Liberty (Jan. 9, 2025), tinyurl.com/2avh8w48.

      Wikimedia is a nonprofit charitable foundation based in San Francisco,

California on a mission to “keep knowledge free.” It accomplishes that goal through

advocacy work and by hosting thirteen free-knowledge platforms known as the

Wikimedia Projects. Wikipedia, Wikimedia’s most well-known platform, serves as

a free online encyclopedia that allows users to write and edit content collaboratively.

The Wikimedia Projects host factual and educational content that is created, edited,

and moderated by over 275,000 volunteer contributors per month worldwide.

Volunteer editors determine whether a topic is notable enough to deserve its own

page, confirm that content remains accurate, and ensure that pages are notable,

neutral, and cited by reliable sources.

      The Woodhull Freedom Foundation (“Woodhull”) is a nonprofit organization

that works to advance the recognition of sexual freedom, gender equality, and free

expression. The organization works to improve the well-being, rights, and autonomy

of every individual through advocacy, education, and action. Woodhull’s mission is

focused on affirming sexual freedom as a fundamental human right. Woodhull is


                                          3
       Case: 24-50721      Document: 107        Page: 12   Date Filed: 07/10/2025




particularly concerned with governmental attempts to censor or burden access to

online speech, as sexual expression is often a target of such efforts. Woodhull

believes that if this Court upholds the constitutionality of the challenged law, more

jurisdictions will be incentivized to pass similar statutes threatening the ability of its

members to effectively advocate for sexual freedom and communicate about human

sexuality online.




                                            4
       Case: 24-50721     Document: 107       Page: 13   Date Filed: 07/10/2025




                                INTRODUCTION
      People rely on social media to keep up to date on the news, engage with

elected officials and religious leaders, connect with friends, create art, and build

movements. Platforms like YouTube, TikTok, and Instagram allow children and

teenagers to discover different perspectives, discuss social and political issues, and

develop a better understanding of others’ beliefs and opinions. Social media provides

access to a vast array of information and ideas, and fosters communication and

association between people who might otherwise never speak to each other. Such

social media use lies at the heart of First Amendment protection.

      In 2023, the Texas Legislature passed Texas House Bill 18 (“HB 18”) in an

effort to “prevent harm to known minors” online, including by blocking access to

large swaths of content to any user of a social media platform who registers as under

18, or whose purported parent or guardian registers them as such. In particular,

Section 509.053 forbids exposing “known minors” to “content that promotes,

glorifies, or facilitates (1) suicide, self-harm, or eating disorders; (2) substance

abuse; (3) stalking, bullying, or harassment; or (4) grooming, trafficking, child

pornography, or other sexual exploitation or abuse.” HB 18 § 509.053(a).

      In passing the law, the Legislature was understandably concerned with the

wellbeing and safety of minors. But, by the law’s plain text, it restricts much more

than just “harmful” content online. For example, any content with a comment section



                                          5
       Case: 24-50721      Document: 107       Page: 14   Date Filed: 07/10/2025




can “facilitate” bullying by providing a way for users to communicate and interact

with each other online, potentially cutting off children and teens from accessing

educational, artistic, and other beneficial material on social media. Similarly, content

that “facilitates” or “promotes” self-harm or substance abuse could reach anything

that might cause a young person deep anguish, from reporting about school

shootings, war, and teen suicide, to minors’ own personal updates about deaths in

the family, rejection from a college, or a breakup. Such a regulation is content-based,

triggers strict scrutiny, and falls far short of the narrow tailoring required for

governmental intrusion into constitutionally protected speech.

      Section 509.053’s regulation of how social media platforms must implement

these content blocks further highlights its insufficient tailoring. Pursuant to the law,

platforms must “creat[e] and maintain[] a comprehensive list of [such] harmful

material,” and then use “filtering technology,” “hash-sharing technology,” “human-

performed monitoring reviews,” and “other protocols” to block content on that list,

while also “making available the [platform’s] algorithm code” (a term not defined in

the law) and “creating and maintaining a database of keywords used for filter

evasion.” HB 18 § 509.053(b)(1). Not only is it unclear how feasible and effective

it would be for every platform to follow each of these mandates, but these

requirements will inevitably restrict more content than necessary. Whether content

“promotes, glorifies, or facilitates” the behaviors targeted by HB 18 depends on


                                           6
       Case: 24-50721      Document: 107       Page: 15   Date Filed: 07/10/2025




context that filters do not account for. The technologies involved are likely to be

overinclusive, and, if anything, the regulated social media platforms will be pushed

by the law to overcomply.

      The Supreme Court has made clear that, even where children are concerned,

the government cannot regulate speech “solely to protect the[m] . . . from ideas or

images that a legislative body thinks unsuitable for them.” Erznoznik v. City of

Jacksonville, 422 U.S. 205, 214–15 (1975). Notwithstanding societal fears about

new technologies and mediums—including the ideas they might expose minors to—

the Supreme Court has, time and again, struck down legislation seeking to protect

kids from their purported dangers, from violent video games, see Brown v. Ent.

Merchs. Ass’n, 564 U.S. 786, 789 (2011), to communications online, Reno, 521 U.S.

at 874, to drive-in movies, Erznoznik, 422 U.S. at 212–13. The same result is

warranted here. Despite any good intentions, HB 18 goes too far in regulating

protected speech online.

                                  ARGUMENT

I.    Core First Amendment Activity Takes Place Online
      In 2017, the Supreme Court recognized that the “most important places . . .

for the exchange of views” are “the ‘vast democratic forums of the Internet’ in

general . . . and social media in particular.” Packingham v. North Carolina, 582 U.S.

98, 104 (2017) (quoting Reno, 521 U.S. at 868). Since then, social media platforms’



                                           7
       Case: 24-50721     Document: 107       Page: 16   Date Filed: 07/10/2025




“position as the modern public square has only become more entrenched,” “as the

public’s usage of and dependence on the Platforms has continued to increase.”

NetChoice, LLC v. Paxton, 49 F.4th 439, 475 (5th Cir. 2022) (footnote omitted).

      The vast majority of Americans use social media today,2 and teens are no

different—for example, over 60 percent of teens use TikTok and Instagram, and 90

percent use YouTube. 3 Teens often turn to social media to express themselves. The

majority of teens reported that social media offers them “a place where they can

show their creative side,”4 and tweens and teens regularly “use their digital devices

to create some type of art or music.”5 Although teens are too young to vote, they use

social media to educate themselves and share political opinions. 6 “In short, social

media users employ these websites to engage in a wide array of protected First




2
  Jeffrey Gottfried, Americans’ Social Media Use, Pew Rsch. Ctr. (Jan. 31, 2024),
https://perma.cc/9C5P-TSTV.
3
 Michelle Faverio & Olivia Sidoti, Teens, Social Media and Technology 2024, Pew
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                                          8
       Case: 24-50721    Document: 107        Page: 17   Date Filed: 07/10/2025




Amendment activity on topics ‘as diverse as human thought.’” Packingham, 582

U.S. at 105 (quoting Reno, 521 U.S. at 852).

II.   Content-Based Burdens Trigger Strict Scrutiny, Even If They Aim to
      Protect Minors

      By its plain language, Section 509.053 is content-based: it regulates speech

that “promotes, glorifies, or facilitates” four categories of harmful behavior:

“(1) suicide, self-harm, or eating disorders; (2) substance abuse; (3) stalking,

bullying, or harassment; or (4) grooming, trafficking, child pornography, or other

sexual exploitation or abuse.” HB 18 § 509.053(a). Whether online speech triggers

the regulation necessarily depends on “the topic discussed or the idea or message

expressed.” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015). To quote the district

court, “[t]hat is as content based as it gets.” Comput. & Commc’ns Indus. Ass’n v.

Paxton, 747 F. Supp. 3d 1011, 1036 (W.D. Tex. 2024). Indeed, while Texas objects

to the district court’s holding that HB 18 is content-based as a whole, it does not

contest the holding that Section 509.053 is independently content-based. See

Appellant’s Br. at 30–33, ECF No. 75.

      Because Section 509.053 is a content-based regulation, it is subject to strict

scrutiny. Brown, 564 U.S. at 799; United States v. Playboy Ent. Grp., Inc., 529 U.S.

803, 813 (2000). The level of scrutiny that must be applied does not change simply

because the regulation concerns minors.




                                          9
       Case: 24-50721      Document: 107        Page: 18   Date Filed: 07/10/2025




      To the contrary, content-based laws, even if meant to protect minors, trigger

the same concern about government regulation as all content-based regulations of

speech do. Where it is the details of the regulated speech or medium that “arouse[s]

the reader’s ire, and the reader’s desire to put an end to th[e] horrible message,” the

danger is “that the ideas expressed by speech—whether it be violence, or gore, or

racism—and not its objective effects, may be the real reason for governmental

proscription.” Brown, 564 U.S. at 799; see also Reno, 521 U.S. at 868 (noting that a

statute regulating minors’ access to “indecent” and “patently offensive” material

online was “a content-based blanket restriction on speech”).

      Moreover, “[m]inors are entitled to a significant measure of First Amendment

protection.” Brown, 564 U.S. at 794 (quoting Erznoznik, 422 U.S. at 212–13). The

First Amendment protects the “public dissemination of protected materials to

[minors].” Erznoznik, 422 U.S. at 212–13; see also Rowan v. U.S. Post Off. Dep’t,

397 U.S. 728, 741 (1970) (Brennan, J., concurring) (statute providing that “parents

could[] prevent their children, even if they are 18 years old, from receiving political,

religious, or other materials that the parents find offensive . . . [would] not [be]

without constitutional difficulties”).




                                           10
       Case: 24-50721     Document: 107        Page: 19   Date Filed: 07/10/2025




      And the First Amendment also protects what young people—who are often at

the forefront of movements, trends, and technologies 7—can say. Mahanoy, 594 U.S.

at 187 (recognizing “significant . . . First Amendment protection” for what minors

say online (quoting Brown, 564 U.S. at 794)); see also Brown, 564 U.S. at 795 n.3

(discussing importance of protecting minors’ right to attend rallies “in support of

laws against corporal punishment of children, or laws in favor of greater rights for

minors”). “Even where the protection of children is the object, the constitutional

limits on governmental action apply.” Id. at 804–05.

      Indeed, the fact that a speaker or listener is young is reason not for the

diminution of their rights, but “for scrupulous protection of [their] Constitutional

freedoms . . . if we are not to strangle the free mind at its source and teach youth to

discount important principles of our government as mere platitudes.” W. Va. State

Bd. of Educ. v. Barnette, 319 U.S. 624, 637 (1943). Even when minors are involved,

“we apply the limitations of the Constitution with no fear that freedom to be

intellectually and spiritually diverse or even contrary will disintegrate the social

organization.” Id. at 641. “Our representative democracy only works if we protect

the ‘marketplace of ideas,’” which “facilitates an informed public opinion” and



7
  See, e.g., Kait Sanchez, How a Teen Punk Led a Movement for Disabled People
Online, The Verge (July 27, 2021), https://www.theverge.com/22583848/disabled-
teen-cripple-punk-media-representation; Harris, supra note 6.


                                          11
       Case: 24-50721      Document: 107        Page: 20   Date Filed: 07/10/2025




ultimately “helps produce laws that reflect the People’s will,” including young

people. Mahanoy, 594 U.S. at 190.8

III.   Requiring Social Media Platforms to Filter Out Content That Could
       Lead to Harmful Behaviors Violates the First Amendment.

       To survive strict scrutiny, Texas must “prove that the restriction furthers a

compelling interest and is narrowly tailored to achieve that interest.” Reed, 576 U.S.

at 171 (citations omitted). “Strict scrutiny—which requires a restriction to be the


8
  The only category of speech in which minors’ rights are diminished as compared
to adults is sexual content that meets the standard for “harmful to minors” content.
Specifically, “a State may prevent minors from accessing works that (a) taken as a
whole, and under contemporary community standards, appeal to the prurient interest
of minors; (b) depict or describe specifically defined sexual conduct in a way that is
patently offensive for minors; and (c) taken as a whole, lack serious literary, artistic,
political, or scientific value for minors” even if the works do not qualify as obscenity
for adults, as long as the regulation burdens only access by minors and is reasonably
related to a legitimate government interest. Free Speech Coal., Inc. v. Paxton, No.
23-1122, 2025 WL 1773625, at *7 (June 27, 2025). That test does not govern here,
given the breadth of non-sexual content covered by the law.

Even if the statute’s requirement that platforms block “harmful [sexual] material,”
as defined in Section 43.24 of the Texas Penal Code, from minors could be severed
from the rest of the statute, it is not clear that it would survive. The Texas Penal Code
defines the relevant content as “material whose dominant theme taken as a whole:
(A) appeals to the prurient interest of a minor, in sex, nudity, or excretion; (B) is
patently offensive to prevailing standards in the adult community as a whole with
respect to what is suitable for minors; and (C) is utterly without redeeming social
value for minors.” Tex. Penal Code § 43.24(2). This falls short of the strict
requirements for “harmful to minors” content in several ways: it does not specifically
define the sexual conduct that triggers the prohibition; it requires only that the work’s
“dominant theme” be “taken as a whole,” not that the entirety of the work is; and it
fails to specify the age of the relevant minor, potentially reaching beyond “the
perspective of an adolescent.” See Free Speech Coal., 2025 WL 1773625, at *10 n.7.


                                           12
       Case: 24-50721      Document: 107        Page: 21   Date Filed: 07/10/2025




least restrictive means of achieving a compelling governmental interest—is the most

demanding test known to constitutional law.” Free Speech Coal., Inc. v. Paxton, No.

23-1122, 2025 WL 1773625, at *11 (June 27, 2025) (cleaned up). Texas cannot

satisfy that stringent burden here.

      A.     Speech Cannot Be Suppressed Simply Because the Government
             Deems It Unsuitable for Minors.

      First, with respect to the state’s interest, the district court correctly observed

that “[i]t is far from clear that Texas has a compelling interest in preventing minors’

access to every single category of information listed above.” Comput. & Commc’ns

Indus. Ass’n, 747 F. Supp. 3d at 1036. As the Supreme Court has recognized,

although the government “possesses legitimate power to protect children from

harm, . . . that does not include a free-floating power to restrict the ideas to which

children may be exposed.” Brown, 564 U.S. at 794 (cleaned up). “Speech that is

neither obscene as to youths nor subject to some other legitimate proscription cannot

be suppressed solely to protect the young from ideas or images that a legislative body

thinks unsuitable for them.” Id. at 795 (cleaned up).

      Put even more plainly, “it is obvious that [young people] must be allowed the

freedom to form their political views on the basis of uncensored speech,” in part

because they “are unlikely to become well-functioning, independent-minded adults

and responsible citizens if they are raised in an intellectual bubble.” Am. Amusement

Mach. Ass’n v. Kendrick, 244 F.3d 572, 577 (7th Cir. 2001). “To shield children right


                                           13
       Case: 24-50721     Document: 107        Page: 22   Date Filed: 07/10/2025




up to the age of 18 from exposure to violent descriptions and images,” and other

troubling content, “would not only be quixotic, but deforming; it would leave them

unequipped to cope with the world as we know it.” Id. Blocking minors’ access to

content about suicide, substance abuse, eating disorders, and sexual abuse does not

remove those harms from their reality; it just makes young people less equipped to

deal with and combat them.

      The Supreme Court’s admonition that speech that causes deep anguish or

severe emotional distress cannot be banned or burdened based on “the content and

viewpoint of the message conveyed” also dooms the law. Snyder v. Phelps, 562 U.S.

443, 457 (2011). This prohibition on regulating speech because of its offensive,

hurtful, and even materially harmful message derives, in part, from the recognition

that such speech often deals with matters of public concern and so “occupies the

highest rung of the hierarchy of First Amendment values.” Id. at 452 (quoting

Connick v. Myers, 461 U.S. 138, 145 (1983)). Speech at the zenith of protection “is

often provocative and challenging” and “may strike at prejudices and preconceptions

and have profound unsettling effects as it presses for acceptance of an idea.”

Terminiello v. City of Chicago, 337 U.S. 1, 4 (1949).

      This is no less true where the government’s stated interest is to protect minors.

Nearly every time a new communications technology emerges, some in society fear

the effects it will have on minors. “In the 1800’s, dime novels depicting crime . . .


                                          14
       Case: 24-50721     Document: 107         Page: 23   Date Filed: 07/10/2025




were blamed in some quarters for juvenile delinquency. When motion pictures came

along, they became the villains instead. . . . Radio dramas were next, and then came

comic books. . . . And, of course, after comic books came television and music

lyrics.” Brown, 564 U.S. at 797–98 (citations omitted). Video games followed. Id.

And yet, the Supreme Court has repeatedly struck down legislation seeking to

protect kids from purportedly dangerous new mediums. See id. at 805 (striking down

law requiring parental consent before minors can access violent video games); Reno,

521 U.S. at 874 (invalidating statute prohibiting indecent communications available

to minors online); Erznoznik, 422 U.S. at 212–13 (invalidating restriction on drive-

in movies designed to protect minors). 9

      Relatedly, speech about “teenage sexual activity and the sexual abuse of

children” cannot be banned out of concern that it is bad for minors; to the contrary,

“[b]oth themes . . . have inspired countless literary works,” including everything

from Romeo and Juliet to Oscar-nominated or -winning films like Traffic and

American Beauty. Ashcroft v. Free Speech Coal., 535 U.S. 234, 247–48 (2002). “Our



9
  Often, as may be the case here, the concerns are motivated by perceptions that the
medium at issue is uniquely “interactive”—but that too “is nothing new,” for “all
literature is interactive.” Brown, 564 U.S. at 798. Indeed, “the better it is, the more
interactive. Literature when it is successful draws the reader into the story, makes
him identify with the characters, invites him to judge them and quarrel with them, to
experience their joys and sufferings as the reader’s own.” Id. (quoting Am.
Amusement Mach. Ass’n., 244 F.3d at 577).


                                           15
       Case: 24-50721      Document: 107        Page: 24   Date Filed: 07/10/2025




society, like other cultures, has empathy and enduring fascination with the lives and

destinies of the young . . . when wounds can be so grievous, disappointment so

profound, and mistaken choices so tragic, but when moral acts and self-fulfillment

are still in reach.” Id. at 248. Laws that sweep so broadly as to sweep in such content

are “inconsistent with [the] First Amendment.” Id.

      B.     Because of the Overly Broad Nature of Section 509.053, It Is Not
             Narrowly Tailored.
      Even if Texas could show a compelling interest in restricting minors’ access

to the content covered by Section 509.053, the law is undoubtedly overinclusive such

that it is not narrowly tailored to the government’s interest in preventing minors’

exposure to the content the legislature deems harmful.10




10
   It is also underinclusive as a means of protecting minors from harmful content
online because it only regulates digital services that allow users to “socially interact
with others,” create a public or semi-public profile, and post content. HB 18
§ 509.002(a). It does not reach the exact same categories of “harmful” content when
they are sent via e-mail or direct messaging services, or appear on sites that
“primarily function[] to provide . . . access to news, sports, commerce, or content
primarily generated or selected by the digital service provider.” Id § 509.002(b).
Thus, the law could require a social media platform to block access to any posts
about a news article, while leaving the article itself untouched. Cf. NetChoice, LLC
v. Reyes, 748 F. Supp. 3d 1105, 1128 (D. Utah 2024) (finding that a law was
underinclusive because it “preserve[d] minors’ access to the addictive features
Defendants express particular concern with on all internet platforms other than social
media services” (footnote omitted)). Such “[u]nderinclusiveness raises serious
doubts about whether the government is in fact pursuing the interest it invokes, rather
than disfavoring a particular speaker or viewpoint.” Brown, 564 U.S. at 802.


                                           16
       Case: 24-50721     Document: 107        Page: 25   Date Filed: 07/10/2025




      Under the plain language of the statute, there is no shortage of indisputably

valuable speech that is prohibited. For example, in its ordinary meaning, to

“facilitate” means “to make (something) easier.”11 Nutrition information, which

could help someone make better food choices for their health, might make it easier

for another person to obsessively track their food and develop an eating disorder.

      A song with lyrics expressing the artist’s feelings of depression, including

thoughts of self-harm and/or suicide, could be a source of comfort for one person,

but also introduce another person to the concept of self-harm and/or suicide, thereby

making it easier for them to engage in such harmful behavior. See also, e.g.,

NetChoice, LLC v. Bonta, 113 F.4th 1101, 1121 (9th Cir. 2024) (finding that a law

intended to protect minors from harmful material online would also restrict “online

mental health resources and communities that many children turn to for support”).

      An educational video about the dangers of drugs could similarly “facilitate”

substance abuse by introducing a drug that a person had not heard of before and

thereby make it easier for that person to become addicted to that substance. A social

media post commenting on interpersonal dynamics in an episode of reality television

could be considered “glorif[ying]” bullying or harassment. A “day in my life” video




11
   Facilitate, Merriam-Webster Dictionary, https://perma.cc/G385-89HU (last
updated June 16, 2025).


                                          17
       Case: 24-50721     Document: 107        Page: 26   Date Filed: 07/10/2025




could “facilitate” stalking by showing locations where a creator can frequently be

found and what routes they take when going about a typical day. 12

      In addition, virtually any digital service provider, as defined by HB 18, may

“facilitate” bullying or harassment because it provides an opportunity for minors to



12
   These examples also highlight the flaws in the government’s attempt to argue that
the law regulates only unprotected speech. See Appellant’s Br. at 36 (citing Giboney
v. Empire Storage & Ice Co., 336 U.S. 490, 498 (1949) (speech integral to criminal
conduct); and then citing New York v. Ferber, 458 U.S. 747, 758 (1982) (child
pornography)).

As an initial matter, not all of the targeted behaviors—such as self-harm, eating
disorders, and, given the lack of any limiting definition, substance abuse, bullying,
harassment, and grooming—are illegal. Moreover, to suggest that the examples
above are all intended for, or integral to, any illegal conduct—as is required for them
to fall within the speech-integral-to-criminal-conduct exception—strains credulity.
See, e.g., United States v. Williams, 553 U.S. 285, 298 (2008) (speech “intended to
induce or commence illegal activities” is not protected by the First Amendment).
“[E]ven speech related to unlawful conduct can have constitutional value, including
the potential to inform, critique, entertain, and otherwise enrich the ‘interchange of
ideas.’” Yellowhammer Fund v. Att’y Gen. of Ala. Steve Marshall, 733 F. Supp. 3d
1167, 1195 (M.D. Ala. 2024) (quoting Dennis v. United States, 341 U.S. 494, 549
(1951) (Frankfurter, J., concurring in the judgment)). Thus, in Williams, the Supreme
Court instructed that speech that recommends “a particular piece of . . . child
pornography with the intent of initiating a transfer” could be prohibited while other
kinds of speech about child pornography could not. 553 U.S. at 300 (emphasis
added).

For similar reasons, the government is wrong to suggest that the statute is limited to
regulating child sexual abuse material—“pornography produced with real
children”—which the government can regulate because “[t]he production of the
work, not its content” is the target of the government’s concern. Ashcroft, 535 U.S.
at 246, 249. HB 18 is not limited to content that is created through or depicts the
sexual abuse of minors.


                                          18
       Case: 24-50721     Document: 107        Page: 27   Date Filed: 07/10/2025




socially interact with each other—in some ways, not unlike how letting them out for

recess in a schoolyard may result in bullying. That the interaction takes place online

should not make a meaningful difference. “[W]hatever the challenges of applying

the Constitution to ever-advancing technology, ‘the basic principles of freedom of

speech and the press, like the First Amendment’s command, do not vary’ when a new

and different medium for communication appears.” Brown, 564 U.S. at 790 (quoting

Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 503 (1952)).

      The sheer breadth of content restricted by Section 509.053 runs counter to the

Supreme Court’s admonition that “[s]peech that is neither obscene as to youths nor

subject to some other legitimate proscription cannot be suppressed solely to protect

the young from ideas or images that a legislative body thinks unsuitable for them.”

Erznoznik, 422 U.S. at 213–14 (voiding a law that “suppressed” the showing of adult

films at drive-in theaters even though the speech would remain available to adults in

other venues).

      C.     Vague Laws Fail Strict Scrutiny

      That many of the terms used in the statute—including “promotes, glorifies, or

facilitates,” “self-harm,” “bullying,” and “grooming,” among others—are vague

only adds to the law’s “obvious chilling effect on free speech,” and also opens the

door to “discriminatory enforcement,” thus “pos[ing] great[] First Amendment

concerns.” Reno, 521 U.S. at 872 (cleaned up). The fact that this law purports to



                                          19
       Case: 24-50721     Document: 107        Page: 28   Date Filed: 07/10/2025




protect children does not diminish the standard. See id. at 875. “It is essential that

legislation aimed at protecting children from allegedly harmful expression—no less

than legislation enacted with respect to adults—be clearly drawn and that the

standards adopted be reasonably precise so that those who are governed by the law

and those that administer it will understand its meaning and application.” Interstate

Cir., Inc. v. City of Dallas, 390 U.S. 676, 689 (1968) (quotation marks and citation

omitted) (striking down city ordinance imposing misdemeanor penalty on movie

theaters for showing films “not suitable for young persons” as impermissibly vague).

      D.     Narrow Tailoring Requires No Less Restrictive Alternatives

      The law’s insufficient tailoring can also be seen in the implementation

requirements laid out by Section 509.053, which will inevitably capture and block

access to content even beyond the categories identified in the statute. For example,

the law requires digital service providers to “creat[e] and maintain[] a database of

keywords used for filter evasion, such as identifiable misspellings, hash-tags, or

identifiable homoglyphs.” HB 18 § 509.053(b)(1)(D). It also requires using content

filtering to block minors’ access to content deemed harmful by the statute. Id.

§ 509.053(b)(1)(B).

      As a matter of law, filtering content before it is published to willing listeners—

and “before an adequate determination that it is unprotected”—is, by definition, less

tailored than punishing posting after the fact. See Pittsburgh Press Co. v. Pittsburgh



                                          20
          Case: 24-50721     Document: 107        Page: 29   Date Filed: 07/10/2025




Comm’n on Hum. Rels., 413 U.S. 376, 390 (1973); Bantam Books, Inc. v. Sullivan,

372 U.S. 58, 70 (1963) (prior restraints “come[] to [court] bearing a heavy

presumption against [their] constitutional validity”). As a matter of implementation,

filtering content risks blocking content without context, which can sweep in

innocuous material that should not be blocked, even under the terms of the statute

itself.

          This can be illustrated easily with the keyword filtering requirement. If, for

example, the words used in Section 509.053 itself are included on the list, both

content about the “grooming” of minors and content about pet grooming would be

blocked, even though the latter would not be considered harmful within the statute’s

definition. That the list of keywords must include words often used to evade content

filters only expands the reach of the statute. A common abbreviation for sexual

assault used on TikTok is “SA,” 13 which is also the abbreviation used to describe

San Antonio or a summer associate at a law firm during their 2L summer.14 This is

far from narrow tailoring.


13
   Melina Delkic, Leg Booty? Panoramic? Seggs? How TikTok Is Changing
Language, N.Y. Times (Nov. 19, 2022),
https://www.nytimes.com/2022/11/19/style/tiktok-avoid-moderators-words.html
(last updated Jan. 4, 2024).
14
  Common Law School Abbreviations, Reddit,
https://www.reddit.com/r/LawSchool/wiki/abbreviations (last updated July 5,
2021).


                                             21
       Case: 24-50721     Document: 107        Page: 30   Date Filed: 07/10/2025




      The sheer number of implementation requirements—maintaining a

comprehensive list of harmful content, using filtering technology, using hash-

sharing technology, maintaining a keyword database, relying on human-performed

monitoring, and making the platform’s full algorithmic code available to

independent researchers—further shows that Section 509.053 is not the least

restrictive means for blocking minors from accessing the regulated material. Texas

has not explained how all of these are necessary to prevent harm to minors. For

example, the district court found that, on the factual record before it, Texas had not

shown the necessity of “hash-sharing technology” and “publishing depictions of

filtered content.” Comput. & Commc’ns Indus. Ass’n, 747 F. Supp. 3d at 1037.

      The existence of less restrictive alternatives that do not appear in the statute

at all also shows that Section 509.053 is not narrowly tailored. See Playboy Ent.

Grp., 529 U.S. at 814. This includes, as the district court found on the record below,

digital service providers’ implementation of their existing “content-moderation

policies to ensure that minors cannot access harmful content.” Comput. & Commc’ns

Indus. Ass’n, 747 F. Supp. 3d at 1037; see also, e.g., Moody v. NetChoice, LLC, 603

U.S. 707, 738–39 (2024) (finding that Facebook and YouTube’s content moderation

guidelines already excluded a lot of content that was targeted by the law in question).

      And further examples of less restrictive alternatives can be found in case law.

In Reno, where the Supreme Court considered a prohibition on the “transmission of


                                          22
       Case: 24-50721     Document: 107        Page: 31   Date Filed: 07/10/2025




obscene or indecent messages to any recipient under 18 years of age,” the Court held

that the government had failed to explain why the prohibition was the least restrictive

means necessary, noting possible alternatives such as tagging indecent material to

facilitate parental control, “making exceptions for messages with artistic or

educational value,” and “providing some tolerance for parental choice.” 521 U.S. at

879. Playboy Entertainment Group also concerned the issue of protecting minors

from indecent material; there, the Court considered a statute requiring cable

television operators to limit transmission of “sexually-oriented programming” to

“hours when children are unlikely to be viewing,” as set by administrative

regulations. 529 U.S. at 806. In identifying a less restrictive alternative, the Court

highlighted the capability of cable television operators to block channels “on a

household-by-household basis” upon request, holding that this “targeted blocking

enable[d] the Government to support parental authority without affecting the First

Amendment interests of speakers and willing listeners.” Id. at 815–16; see also, e.g.,

NetChoice, LLC v. Bonta, 113 F.4th at 1121 (listing “voluntary content filters or

application blockers” as a less restrictive means to protect minors from harmful

content online); NetChoice, LLC v. Griffin, No. 5:23-cv-5105, 2025 WL 978607, at

*13–14 (W.D. Ark. Mar. 31, 2025) (finding that “encouraging users (or their parents)

to control their own access to information” was a less restrictive alternative).




                                          23
       Case: 24-50721     Document: 107        Page: 32   Date Filed: 07/10/2025




      Here, similar alternatives exist. Digital service platforms could implement

parental controls such that content is blocked for a user only when that user or their

parent has requested the content be blocked. And the categories in Section 509.053

could be more narrowly defined to, for example, allow for “exceptions for messages

with artistic or educational value,” Reno, 521 U.S. at 879, among others, which could

help to avoid the law’s troublingly sweeping reach, as described above.

                                  CONCLUSION
      For these reasons, the Court should affirm the court below and hold that

Section 509.053 violates the First Amendment.

Dated:                                     Respectfully submitted,

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                                          24
     Case: 24-50721      Document: 107        Page: 33   Date Filed: 07/10/2025




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                                         25
      Case: 24-50721     Document: 107        Page: 34   Date Filed: 07/10/2025




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                                         26
